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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

TONYA BOWLES, for herself
and all those similarly situated,                        Case No. 23-cv-10973
     Plaintiffs,                                         Hon. Linda V. Parker

      v.                                              AMENDED COMPLAINT[1]
                                                        (JURY DEMANDED)
COUNTY OF WAYNE by its BOARD
OF COMMISSIONERS also sometimes                           ** CLASS ACTION **
known as CHARTER COUNTY
OF WAYNE by its BOARD OF
COMMISSIONERS,

      and

ERIC R. SABREE, in his official
capacity,
     Defendants
                                                /

                  AMENDED CLASS ACTION COMPLAINT[2]
      1 This filing is being made as required by the order of this Court. See Case 2:23-

cv-10973-LVP-KGA, ECF No. 1, PageID.3-4 (requiring the “fil[ing] of an amended
complaint in that new case, which will not contain any new claims nor parties and be
directed against the Wayne County defendants only”). However, a motion for leave to
further amend the complaint will be filed shortly to streamline the various consolidated
cases and claims into a single pleading for this case.
       2 Defendant Sabree was previously sued in his personal capacity but the same is

not re-pled due to the Court already ruling on the same. See Case No. 20-cv-12838, ECF
No. 47; see also Case No. 23-cv-10973, ECF No. 1 (“All prior rulings of the Court in this
matter will be applicable in the severed case and all appellate rights shall be
preserved…”). The Court has also dismissed the Fifth Amendment “arising under” claim
(formerly Count II); the direct Michigan constitutional takings claim (formerly Count IV);
and the Eighth Amendment Excessive Fines claim (formerly Count V). Id. Such is not re-
pled in this pleading but it is not a waiver or abandonment of the claim(s). Each have been
fully preserved for any potential appeal in the future or reconsideration based on
additional decisions of the Sixth Circuit and United States Supreme Court. See Mike Chak
Hin Tsoi, Raise It (Again) Or Waive It, Preserving Claims for Appellate Review When
They Are Dismissed With Leave to Amend, 38 Wm Mitchell L Rev 1406 (2012) (available
at https://open.mitchellhamline.edu/cgi/viewcontent.cgi?article=1469&context=wmlr).

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      NOW COMES Plaintiff TONYA BOWLES, both individually and as

representative of a class of those individuals and entities similarly situated

separately in Wayne County, Michigan, by and through counsel, and assert

the following complaint—

                              INTRODUCTION

      1.    This is a case of gross governmental abuse that cries out for a

remedy. Defendants have illegally seized property in the form of

excess/surplus equity from private individuals and entities without any

compensation at all.

      2.    The abuse stems from the aftermath following the counties’ tax

foreclosure process. Michigan law generally authorizes counties to foreclose

on parcels in order to satisfy outstanding unpaid property taxes. But these

defendant counties and its named officials abuse this process. They do not

foreclose on the parcel, sell it, keep the amount of outstanding taxes plus

reasonable fees, and return the rest to the property owner. Rather, they

foreclose, sell the property at a reduced amount, and keep all of the proceeds

and excess/surplus equity for itself. As a result, property owners lose the

entire value of their property, which is often orders of magnitude more than

the outstanding tax bills.




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                                 PARTIES

      3.    Plaintiff TONYA BOWLES is named directly and as a proposed

class representative by being the former owner of real improved property in

Wayne County, Michigan which was foreclosed upon due to a tax

delinquency but was injured by the unconstitutional similar acts or actions of

the defendants via their unconstitutional retention of surplus or excess

equity. Ms. Bowles with all the fellow members of the class of former property

owners from Wayne County are collectively referred to herein as the “Wayne-

County Plaintiffs.”

      4.    Defendant    COUNTY      OF    WAYNE      by   its   BOARD    OF

COMMISSIONERS also sometimes known as CHARTER COUNTY OF

WAYNE by its BOARD OF COMMISSIONERS is a named legal entity

formed and/or existing under the laws of the State of Michigan and is

controlled or operated by its duly designated Board of Commissioners.

      5.    Defendant ERIC R. SABREE is a public official serving as the

duly elected county treasurer of Wayne County, Michigan; he has been sued

in both capacities but due to his dismissal in his personal capacity, he is

being sued in his official capacity by this amended pleading.




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      6.    Collectively, Defendant ERIC R. SABREE (official capacity) and

Defendant COUNTY OF WAYNE by its BOARD OF COMMISSIONERS are

collectively referred to herein as the “Wayne-County Defendants.”

                               JURISDICTION

      7.    This is a civil action brought seeking unpaid “just compensation”

and other monetary damages against Defendants for violations of the United

States Constitution.

      8.    This Court has jurisdiction pursuant to 28 U.S.C. § 1331, which

authorizes federal courts to decide cases concerning federal questions; 28

U.S.C. § 1343 and 42 U.S.C. § 1983, which authorizes federal courts to hear

and decide civil rights cases; 28 U.S.C. § 2201, which authorizes declaratory

judgments via the Declaratory Judgment Act; and 28 U.S.C. § 1367, which

authorizes supplemental state law claims.

      9.    Venue is proper in this Court as Defendants conduct or have

conducted their business in the Eastern District of Michigan.

                     GENERAL ALLEGATIONS
              MICHIGAN’S TAX FORECLOSURE PROCESS

      10.   Like many states, Michigan provides for the taxation of real

property in order to finance local governments such as counties,

municipalities, and school districts and the collection of delinquent taxes.




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      11.   However, this case involves what happens after the taxation

process is completed and excess or surplus equity remans after each county

is paid in full for all delinquent taxes, interest, penalties, and fees.

      12.   Defendants administer a foreclosure-and-auction process so that

after they regularly sell a parcel at auction (often times for less than its fair

market value), they retain the entire amount of the proceeds. Furthermore,

even if the sale proceeds exceed the amount of the delinquent taxes –

indeed, even if the proceeds far exceed the tax bill – they do not return any

of the excess to the property’s former owner or provide compensation for

that portion of the equity destroyed by underselling the parcel.

                          GENERAL ALLEGATIONS

                         The East State Fair Property

      13.   Plaintiff Tonya Bowles was the owner of the real property

commonly known as 14730 East State Fair, Detroit, Michigan, being Parcel

No. 21024081 (hereinafter the “East State Fair Property”).

      14.   On or around March 29, 2017, Defendant Eric R. Sabree, as the

duly elected treasurer of Wayne County, successfully petitioned for and

seized ownership of the East State Fair Property through a judgment of

foreclosure on behalf of Defendant County of Wayne.




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      15.   The East State Fair Property had a fair market value of

$36,600.00.

      16.   The Wayne-County Defendants sold the East State Fair Property

at tax auction to a private buyer on or around November 11, 2014 for

$14,000.00.

      17.   The sale price for the East State Fair Property was far below the

fair market value but above the Tax Delinquency.

      18.   The Wayne-County Defendants seized Plaintiff Tonya Bowles’

equity in the East State Fair Property by foreclosing upon said property,

selling it at auction for an amount much lower than its fair market value, but

still far more than the Tax Delinquency, and failing to return any of the equity

to her.

      19.   The Wayne-County Defendants did not afford any process, plan,

or legal mechanism for Plaintiff Tonya Bowles to seek or achieve the return

of the equity seized.

      20.   Thus, the Wayne-County Defendants took or destroyed all of

Plaintiff Tonya Bowles’ Equity in the East State Fair Property.

      21.   The Wayne-County Defendants refused and refuse to pay just

compensation for Plaintiff Bowles’ equity in the East State Fair Property.




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      22.   The Wayne-County Defendants also have failed to provide any

mechanism at all for any such compensation.

      23.   The   Wayne-County      Defendants     failed   to   initiate   any

condemnation action or process for Plaintiff Tonya Bowles’ equity in the East

State Fair Property.

      24.   In addition to the East State Fair Property, the Wayne-County

Defendants have, in an identical fashion as outlined above, seized other

pieces of real property within Wayne County from other individuals and

entities.

                  GENERAL ALLEGATIONS
     THE CONDUCT AT ISSUE HERE REFLECTS COUNTY POLICY

      25.   The actions described herein is the respective voluntary policy,

custom, and/or practice of Wayne County, and/or its final policymaker.

      26.   Each had a voluntary policy and/or practice sufficient to impose

damages and other relief pursuant to Monell v New York City Department of

Social Services, 436 U.S. 658 (1978), and its progeny.

      27.   Specifically, the Wayne County Defendants each made the

affirmative, voluntary, and discretionary decision to select and designate its

own treasurer to act as the Foreclosing Governmental Unit. See MCL

211.78(3)-(6).




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      28.    Moreover, the Wayne County Defendants, either through

enactment of laws or regulations, official agency or governmental entity

policy, and/or actions taken by an official or officials with final decision-

making authority has administered the County’s foreclosure and auction

process generally, including MCL 211.78m(8), so that after the each county

respective sells a parcel at auction, the respective county retains the entire

amount of the proceeds, even if the proceeds exceed the amount of the tax

delinquency, and never returns anything to the property owner, nor provides

any mechanism by which the property owner can secure a return of his, her,

or its equity.

      29.    According, the actions at issue here were undertaken pursuant

to an official county policy for purposes of Monell.

      30.    The actions of the Wayne County Defendants were designed to

intentionally or wantonly cause harm due to the utter disregard of

constitutionally protected rights.

                            CLASS ALLEGATIONS

      31.    This action is brought by Plaintiff, individually and on behalf of all

other respective individuals and entities during the relevant statutorily-limited

time period who were subject to the same unconstitutional processes by the




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Wayne       County   Defendants   which    resulted   in   the   taking   and/or

unconstitutional forfeiture of their surplus or excess Equity.

      32.    The proposed class consists of all the owners of real property in

Wayne County whose real property, during the relevant time period, was

seized through a real property tax foreclosure by the respective Defendants

and which was worth and/or sold at tax auction for more than the total tax

delinquency and was not refunded the excess equity.

      33.    The number of persons who have been injured by the practices

discussed herein is sufficiently numerous to make class action the most

practical method to secure redress for the injuries sustained and to provide

class wide equitable relief.

      34.    There are clear questions fact raised by the named Plaintiffs’

claims common to, and typical of, those raised by the class they seek to

represent, including:

         a. Wayne County and its treasurer is and have been acting to

             voluntarily enforce an unconstitutional but locally administered

             statute which it has willingly assumed to undertake pursuant to

             its discretion under MCL 211.78;




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        b. each class member’s property, prior to foreclosure, was worth

           and was sold for more than the total Tax Delinquency owed to

           the counties and/or its treasurers;

        c. each class member’s property had a fair market value greater

           than the total Tax Delinquency owed to the counties and/or its

           treasurer;

        d. Defendants destroyed thousands of dollars of Equity when

           selling each class member’s property at a highly reduced, below

           fair market value price;

        e. Defendants then kept the excess sales proceeds (i.e. the

           difference between the tax sale price and the total tax

           delinquency owed) for the benefit of the respective counties; and

        f. Defendants refuse to pay just compensation, failed to initiate any

           form of condemnation proceedings, or has failed to have or

           undertake a process to return the surplus Equity.

     35.   There are clear questions of law raised by the named Plaintiff’s

claims common to, and typical of, those raised by the class they seek to

represent, including—

        a. whether MCL 211.78m forbids the defendants from returning

           Equity to class members;


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        b. whether, if MCL 211.78m does entail such a prohibition, the

           statute is facially unconstitutional;

        c. whether the defendants committed an unconstitutional taking by

           refusing to pay just compensation when seizing Equity beyond

           the amount of unpaid taxes and administrative expenses, costs

           and interest owed in a tax delinquency, and have appropriated

           property in the form of excess or surplus equity for public use

           without the payment of just compensation in violation of the Fifth

           and Fourteenth Amendments to the United States Constitution;

           and

        d. whether Defendants committed an inverse condemnation by

           destroying equity via the seizure process and/or the later sale of

           property at a highly reduced, below fair market price and then

           retaining the remaining proceeds from the sale of tax foreclosed

           property that exceeded the amount of the tax delinquency in

           accordance with MCL 211.78m(8)(h); and

        e. if deemed a forfeiture, whether Defendants violated either the

           Excessive Fines Clause of the United States Constitution by

           retaining proceeds from the sale of tax foreclosed property that




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           exceeded the amount of the tax delinquency in accordance with

           MCL 211.78m(8)(h);

     36.   The violations of law and resulting harms alleged by the named

Plaintiff are typical of the legal violations and harms suffered by all class

members in their respective counties.

     37.   Plaintiff, as class representative, will fairly and adequately

protect the interests of the class members of Wayne County and will

vigorously prosecute the suit on behalf of the class; and is represented by

highly experienced counsel.

     38.   The maintenance of the action as a class action will be superior

to other available methods of adjudication and will promote the convenient

administration of justice, preventing possible inconsistent or varying

adjudications with respect to individual members of the class and/or one or

both of Defendants.

     39.   The Wayne County Defendants have acted, failed to act, and/or

are continuing to act on grounds generally against Plaintiff and all members

of the class in the same manner within their respective counties.

     40.   The violations of law and resulting harms alleged by the named

Plaintiff are typical of the legal violations and harms suffered by all class

members in their respective counties.


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                             COUNT I
       TAKING – FIFTH/FOURTEENTH AMENDMENT VIOLATION
                     42 U.S.C. § 1983 (KNICK)
            (AGAINST WAYNE COUNTY DEFENDANTS)

      41.   The prior paragraphs are restated word for word herein.

      42.   This claim is being made by Plaintiff Tonya Bowles, individually

and as class representative, against the Wayne-County Defendants

pursuant to 42 U.S.C. § 1983 and § 1988.

      43.   The Fifth Amendment, made applicable to the states via the

Fourteenth Amendment, is a constitutional provision and right requiring the

payment of just compensation upon a taking by the defendants. See Knick v

Township of Scott, 588 U.S. __ (2019).

      44.   The Wayne-County Defendants have taken the Wayne-County

Plaintiff’s and the class members’ property interests in the form of Equity and

have appropriated this property for public use without the payment of just

compensation in violation of the Fifth and Fourteenth Amendments to the

United States Constitution.

      45.   The Wayne-County Defendants has refused to take any action

for the payment of just compensation for their seizure of Equity from the

Wayne-County Plaintiffs.

      46.   By the Wayne-County Defendants’ refusal to take any action for

the payment of just compensation at the time of the taking, the Wayne-

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County Defendants has deprived the Wayne-County Plaintiffs of their

constitutional right to just compensation in violation of the Fifth and

Fourteenth Amendments to the United States Constitution.

      47.   The taking of the Wayne-County Plaintiffs’ property also violates

42 U.S.C. § 1983 and § 1988. The Wayne-County Plaintiffs are entitled to all

relief provided by these statutes.

      48.   The    Wayne-County       Defendants     have       not   paid   just

compensation.

      49.   The Wayne-County         Defendants    will   not   now    pay   just

compensation.

      50.   The Wayne-County Defendants do not intend to pay just

compensation in the future.

      51.   The Wayne-County Plaintiffs have been injured and have

suffered damages.

                         COUNT II
           STATE LAW – INVERSE CONDEMNATION
 (AGAINST COUNTY OF WAYNE AND SABRE-OFFICIAL CAPACITY)

      52.   The prior paragraphs are restated word for word herein.

      53.   This claim is being made by Plaintiff Tonya Bowles, individually

and as class representative, against the Wayne-County Defendants.




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      54.   The Wayne-County Defendants has taken Wayne-County

Plaintiffs’ property interests in the form of Equity and have appropriated this

property for public use without the payment of just compensation.

      55.   The Wayne-County Defendants has done so without using any

direct condemnation processes, including those outlines under the Uniform

Condemnation Procedures Act, MCL 213.51, et seq.

      56.   The Wayne-County Defendants has not and will not provide the

Wayne-County Plaintiffs any opportunity to claim the equity in their

properties after the seizure and/or later sale of their respective property, nor

do the Wayne-County Defendants provide or have a process for the Wayne-

County Plaintiffs to claim compensation at the time the Wayne-County

Defendants seized title to taken property interests.

      57.   The Wayne-County Defendants has not paid just compensation.

      58.   The Wayne-County         Defendants    will   not   now   pay   just

compensation.

      59.   The Wayne-County Defendants does not intend to pay just

compensation in the future.

      60.   An inverse condemnation with damages has occurred.

      61.   The Wayne-County Plaintiffs have been injured and have

suffered damages.


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                           RELIEF REQUESTED

     62.    WHEREFORE, Plaintiffs respectfully request this Court to enter

an order:

     a.     declaring the conduct of Defendants as being unconstitutional

            under the federal and state constitutions, even if being

            undertaken consistent with the General Property Tax Act;

     b.     for an award of any and all damages available under law as

            applicable, including but not limited to an award of nominal and

            punitive damages as is deemed proper against any or all

            Defendants in all relevant capacities;

     c.     for an award of interest as provided in Knick v Township of Scott;

     d.     for an award of attorney fees and expenses pursuant to all

            applicable laws, rules, and statutes; and

     e.     for all such other legal and equitable relief which the Court deems

            proper.

                              JURY DEMAND

     63.    For all triable issues, a jury is hereby demanded.




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Date: June 1, 2023             RESPECTFULLY SUBMITTED:

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                         CERTIFICATE OF SERVICE

     I hereby certify that on the date stated below, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF System, which will

send notice of and a copy of such filing to counsel of record at their email

address(es) of record.

Date: June 1, 2023              RESPECTFULLY SUBMITTED:

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